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3                               UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                 ***

6      DELBERT CHARLES COBB,                            Case No. 3:15-cv-00172-MMD-CSD

7                                   Petitioner,                        ORDER
              v.
8
       JO GENTRY, et al.,
9
                                Respondents.
10

11           Respondents have filed an unopposed motion for enlargement of time (fourth

12    request) (ECF No. 106) to file a reply in support of their motion to dismiss (ECF No. 85).

13    The Court finds that the request is made in good faith and not solely for the purpose of

14    delay, and therefore good cause exists to grant the motion.

15           It therefore is ordered that Respondents' unopposed motion for enlargement of

16    time (fourth request) (ECF No. 106) is granted. Respondents will have up to and including

17    March 7, 2022, to file a reply to the opposition to the motion to dismiss.

18           DATED THIS 7th Day of March 2022.

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22                                                MIRANDA M. DU
                                                  CHIEF UNITED STATES DISTRICT JUDGE
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